Case 1:15-cv-07433-LAP Document 1327-21 Filed 01/05/24 Page 1 of 11




                      EXHIBIT 2

              (Filed Under Seal)
Case 1:15-cv-07433-LAP Document 1327-21 Filed 01/05/24 Page 2 of 11


                                                                      Page 1


      UNITED STATES DISTRICT COURT
      SOUTHERN DISTRICT OF NEW YORK
      - - - - - - - - - - - - - - - - - - - - x
      VIRGINIA L. GIUFFRE,

                   Plaintiff,
                                            Case No.:
           -against-                        15-cv-07433-RWS

      GHISLAINE MAXWELL,

                   Defendants.

      - - - - - - - - - - - - - - - - - - - - x

                            **CONFIDENTIAL**

                  Videotaped deposition of GHISLAINE
             MAXWELL, taken pursuant to subpoena, was
             held at the law offices of BOIES
             SCHILLER & FLEXNER, 575 Lexington
             Avenue, New York, New York, commencing
             April 22, 2016, 9:04 a.m., on the above
             date, before Leslie Fagin, a Court
             Reporter and Notary Public in the State
             of New York.

                            - - -
                  MAGNA LEGAL SERVICES
              1200 Avenue of the Americas
               New York, New York 10026




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Case 1:15-cv-07433-LAP Document 1327-21 Filed 01/05/24 Page 3 of 11


                                                                      Page 57
 1                G Maxwell - Confidential
 2           asked and answered already.
 3           Q.     You can answer the question.
 4           A.     I have no idea what Sarah Kellen
 5    did.
 6           Q.     You never observed Sarah Kellen
 7    with girls under the age of 18 at Jeffrey's
 8    home?
 9                  MR. PAGLIUCA:     Object to the form
10           and foundation.
11           A.     The answer is no, I have no idea.
12           Q.     Do you know Glenn Dubin?
13           A.     I do.
14           Q.     What is your relationship with
15    Glenn Dubin?
16                  MR. PAGLIUCA:     Object to the form.
17           A.     What do you mean what is my
18    relationship.
19           Q.     Are you friendly with him, how do
20    you know him?
21           A.     He is the husband of Eva Dubin.
22           Q.     Is Eva Dubin one of your friends?
23           A.     Yes.
24           Q.     Did you ever send Virginia to
25    Glenn's condo at the Breakers to give him a




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Case 1:15-cv-07433-LAP Document 1327-21 Filed 01/05/24 Page 4 of 11


                                                                  Page 270
 1                G Maxwell - Confidential
 2           A.     She helps with my not-for-profit
 3    ocean foundation and any other related
 4    activities that I may have.
 5           Q.     Is she paid for by Jeffrey Epstein?
 6           A.     No.
 7           Q.     She is paid for by you?
 8           A.     Yes.
 9
10
11    -
             Q.
              ?
             A.
                    When did you first meet
                                                 -
                    I don't recollect exactly, sometime
12    maybe 2002, 2003.
13           Q.     How did you meet her?
14           A.     I don't recollect exactly how we
15    met.
16           Q.     Did Jeffrey introduce you to her?
17           A.     I don't recollect how we met.
18           Q.     Does she know Jeffrey Epstein?
19                  MR. PAGLIUCA:     Objection to the
20           form and foundation.
21           A.     Can you ask again, please?
22           Q.     Does                 know Jeffrey
23    Epstein?
24           A.     What do you mean by know?
25           Q.     Has she met her him before?




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Case 1:15-cv-07433-LAP Document 1327-21 Filed 01/05/24 Page 5 of 11


                                                                  Page 271
 1                G Maxwell - Confidential
 2                  MR. PAGLIUCA:     Objection to the
 3           form and foundation.
 4           A.     I can't recollect a time when
 5
 6
 7
      -      -- I've seen
             Q.
             A.
                             -      with Jeffrey but --
                    You are not sure --
                    I know they know either other.          I
 8    can't testify to a meeting between them.
 9           Q.     Do you know where in New Jersey she
10    lives?
11           A.     No
12           Q.     You don't know a city?
13           A.     No.
14           Q.     How long has she worked for you?
15           A.     Sometime 2002, 2003.
16           Q.     To the present?
17           A.     Yeah.
18           Q.     Why do you think that
19    might know Jeffrey?
20                  MR. PAGLIUCA:     Objection to the
21           form and foundation.
22           A.     Because you know, I know Jeffrey.
23           Q.     Have you seen them together?
24           A.     I already testified I have not seen
25    them together, to my recollection.




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Case 1:15-cv-07433-LAP Document 1327-21 Filed 01/05/24 Page 6 of 11


                                                                  Page 272
 1                G Maxwell - Confidential
 2
 3
 4    -
              Q.     Is it your testimony that
                                                    -
                   knows Jeffrey Epstein through the work
      that she does for you?
 5                   MR. PAGLIUCA:     Objection to the
 6            form and foundation.
 7            A.     I don't recollect, and I don't
 8
 9
10
      to what
      Jeffrey.
                 -
      recollect how I met


               -
                                       and I can't testify
                          relationship is or is not with


11           Q.      Have you ever talked to Jeffrey
12
13
14
      about
              -
             A.
             Q.
                     ?
                     I don't know what you mean.
                     In any way, have you ever had a
15    conversation with Jeffrey about                        ?
16           A.      In what context.
17           Q.      In any context.     Have you ever
18    talked to Jeffrey Epstein about                        ?
19
20
21
             A.
                     -    works for me so it's entirely
      possible that in the course of conversations
      since 2002, 2003 that a conversation in which
22
23
24
      -
      possible.
             Q.
                  name would have come up is entirely


                     I provided you with and I'm sorry,
25    I don't know all the numbers, but the




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Case 1:15-cv-07433-LAP Document 1327-21 Filed 01/05/24 Page 7 of 11


                                                                  Page 273
 1                G Maxwell - Confidential
 2    statement that was issued by Ross Gow that
 3    should be a single page still in your stack
 4    of exhibits there.
 5                  MR. PAGLIUCA:     Exhibit 10.
 6           Q.     Did you authorize Ross Gow to issue
 7    that statement on your behalf in January of
 8    2015?
 9           A.     I already testified that that was
10    done by my lawyers.
11           Q.     So did you authorize your lawyers
12    to issue a statement on your behalf through
13    Ross Gow in January of 2015?
14           A.     It was determined that I had to
15    make a statement in the United Kingdom
16    because of the appalling lies and I just
17    thought of some new ones.
18                  Virginia's statement that I
19    celebrated her 16 birthday with her.             We can
20    all agree that that's entirely impossible.              I
21    didn't meet her until she was 17 and other
22    lies she perpetrated that she had a diary and
23    we all know is a complete fake.           That's not a
24    diary.      It was just a book she was writing
25    that you helped sell to the press, as if it




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Case 1:15-cv-07433-LAP Document 1327-21 Filed 01/05/24 Page 8 of 11


                                                                  Page 361
 1                G Maxwell - Confidential
 2                  (Maxwell Exhibit 17, email, marked
 3           for identification.)
 4           Q.     This is an email from you on
 5    January 10, 2015 to Philip Barden and Ross
 6    Gow.    The statement you had before you
 7    earlier, that, if you can pull that in front
 8    of you, the one page press release that you
 9    gave.       You might know from memory.
10                  Was the press release that you
11    issued with the statement about Virginia
12    issued in or around January 2, 2015?
13           A.     As best as I can recollect.
14           Q.     I want to turn your attention to
15    the document I just handed you which is Bates
16    No. 001044, from you to Philip Barden and
17    Ross Gow.      It says in the first sentence, I'm
18    out of my depth to understand defamation,
19    other legal hazards and I don't want to end
20    up in a lawsuit aimed at me from anyone, if I
21    can help it.      Apparently, even saying
22    Virginia is a liar has hazards.
23                  You knew at the time you called
24    Virginia a liar in early January of 2015 that
25    that was something that would result in a




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Case 1:15-cv-07433-LAP Document 1327-21 Filed 01/05/24 Page 9 of 11


                                                                  Page 405
 1                G Maxwell - Confidential
 2    with Virginia Roberts.
 3           Q.     I'm marking this as Maxwell 25.
 4                  (Maxwell Exhibit 25, email, marked
 5           for identification.)
 6           Q.     I'm showing you what has been
 7    marked as Maxwell 25.
 8                  This is an email dated January 11,
 9    2015 at the top?
10                  Do you see that that from Jeffrey
11    to you?
12           A.     Uh-huh.
13           Q.     And then below there is an email
14    from Philip Barden to you and cc'ing Ross Gow
15    on January 11, 2015.
16                  Do you see that?
17           A.     Uh-huh.
18           Q.     It says, Dear Ghislaine, as you
19    know I have been working behind the scenes
20    and this article comes from that.            It helps
21    but doesn't answer the VR claims.            I will get
22    the criminal allegations out.           This shows the
23    MOS will print truth, not just a VR voice
24    piece.      We can only make the truth by making
25    a statement.




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Case 1:15-cv-07433-LAP Document 1327-21 Filed 01/05/24 Page 10 of 11


                                                                  Page 406
  1                G Maxwell - Confidential
  2                  What did he mean when he said, I
  3    will get the criminal allegations out, what
  4    was he referring to?
  5                  MR. PAGLIUCA:     Objection to the
  6           form and foundation.
  7           A.     I have no idea.
  8           Q.     Were there criminal allegations
  9    about Virginia that either your lawyer or
 10    press agent were leaking to the press?
 11                  MR. PAGLIUCA:     Objection to form
 12           and foundation.
 13           A.     I have no idea.
 14           Q.     Did you ask him what he meant when
 15    he said, I will get the criminal allegations
 16    out?
 17           A.     I don't recollect the conversation.
 18           Q.     Did you direct him to leak to the
 19    press criminal allegations about Virginia
 20    Roberts?
 21           A.     I already testified that I have no
 22    knowledge of what you are asking me.
 23           Q.     Were you copied on this email,
 24    correct?
 25           A.     I was.




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Case 1:15-cv-07433-LAP Document 1327-21 Filed 01/05/24 Page 11 of 11


                                                                  Page 416
  1
  2                         CERTIFICATE
  3
  4
  5                 I HEREBY CERTIFY that the witness,
  6    GHISLAINE MAXWELL, was duly sworn by me and
  7    that the deposition is a true record of the
  8    testimony given by the witness.
  9
 10                 _______________________________
 11                 Leslie Fagin,
                    Registered Professional Reporter
 12                 Dated: April 22, 2016
 13
 14
 15                 (The foregoing certification of
 16    this transcript does not apply to any
 17    reproduction of the same by any means, unless
 18    under the direct control and/or supervision
 19    of the certifying reporter.)
 20
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 22
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